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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
       Plaintiff,                              §
                                               §
v.                                             §   CAUSE NO.: EP:23-MJ-3671-MAT
                                               §
CARLOS FLORES,                                 §
                                               §
       Defendant.                              §

     THIRD WAIVER AND STIPULATION EXTENDING TIME FOR INDICTMENT

       Comes now, Defendant herein, by and through Defendant's attorney, John L. Williams,

and hereby enters into this Third Waiver and Stipulation wherein Defendant waives Defendant's

right to be indicted within 60 days from the date on which he was arrested as provided in Title

18, United States Code, Section 3161, or under any 5th Circuit or other dictate mandating

indictment within a shorter period of time. This waiver is in furtherance of a stipulation and

extension granting the Government until June 14, 2024, to file an indictment in this cause, and

is requested because the Defendant is requesting such an extension, and because the ends of

justice served by the granting of this request outweigh the best interests of the public and

Defendant in a speedy trial. Any time so extended and postponed is excludable delay for

purposes of the Speedy Trial Act.

                                           Respectfully submitted,


                                    By:    _________________________________
                                           JOHN L. WILLIAMS
                                           Attorney for Defendant
